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 1                                                                  Judge Martinez
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                             UNITED STATES DISTRICT COURT
 9                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
10
     UNITED STATES OF AMERICA,        )
11                                     )               NO. CR06-431 RSM
                      Plaintiff,       )
12                                     )
                v.                     )
13                                     )
     HONG VAN NGUYEN,                 )                ORDER CONTINUING
14   LONG DUY TRAN, and               )                TRIAL DATE
     ROY MITCHELL,                     )
15                                     )
                      Defendants.     )
16   _________________________________)
17          THIS MATTER comes before the Court upon a joint motion by the United States
18   and the defendants for a continuance of the trial date. Having considered the entirety of
19   the records and file herein, the Court rules as follows:
20          The ends of justice served by the granting of a continuance outweigh the best
21   interests of the public and the defendants in a speedy trial. This case is unusually
22   complex, and all parties request a continuance to allow additional time to prepare for
23   trial. The investigation involved the court-authorized interception of several telephones,
24   and over 20 search warrants. Most of the intercepted calls were in Vietnamese. The
25   discovery is extensive. Defendants Nguyen and Tran are charged in the related case with
26   a trial date in April 2007. The government intends to seek a superseding indictment in
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     Order Continuing Trial Date - 1
     Nguyen, et al./CR06-431 RSM                                                  UNITED STATES ATTORNEY
                                                                                   700 Stewart Street, Suite 5220
                                                                                  Seattle, Washington 98101-1271
                                                                                           (206) 553-7970
            Case 2:06-cr-00431-RSM       Document 33      Filed 01/23/07    Page 2 of 2



 1   that related case, which will merge the two cases. The defendants have agreed to waive
 2   their speedy trial rights.
 3          The court finds that the time period between the filing of this motion and the new
 4   trial date is excludable time under the Speedy Trial Act, Title 18 U.S.C. §3161, pursuant
 5   to Sections 3161(h)(8)(A) (continuance requested by parties), 3161(h)(8)(B)(I) (failure to
 6   grant continuance would result in a miscarriage of justice), and 3161(h)(8)(B)(ii) (unusual
 7   or complex case).
 8          Trial of this matter is continued until February 26, 2007. Motions shall be due no
 9   later than February 2, 2007.
10          DATED this _23__ day of January, 2007.
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                                                     RICARDO S. MARTINEZ
14                                                   UNITED STATES DISTRICT JUDGE
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     Presented by:
16
     s/Douglas B. Whalley
17   DOUGLAS B. WHALLEY
18
     Assistant United States Attorney
     United States Attorney's Office
19   700 Stewart Street, Suite 5220
     Seattle, WA 98101-1271
20   (206) 553-4882, Fax: (206) 553-4440
21
     E-mail: douglas.whalley@usdoj.gov
     Washington State Bar #4625
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     Order Continuing Trial Date - 2
     Nguyen, et al./CR06-431 RSM                                                 UNITED STATES ATTORNEY
                                                                                  700 Stewart Street, Suite 5220
                                                                                 Seattle, Washington 98101-1271
                                                                                          (206) 553-7970
